                               Case 24-21209-LMI                    Doc 145           Filed 12/18/24              Page 1 of 3
                                                              United States Bankruptcy Court
                                                               Southern District of Florida
In re:                                                                                                                 Case No. 24-21209-LMI
ShiftPixy, Inc.                                                                                                        Chapter 11
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 113C-1                                                  User: admin                                                                 Page 1 of 2
Date Rcvd: Dec 16, 2024                                               Form ID: CGFCRD3C                                                          Total Noticed: 1
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Dec 18, 2024:
Recip ID                 Recipient Name and Address
op                     + Jonathan Feldman, 2 South Biscayne Boulevard, Suite 1600, Miami, FL 33131-1824

TOTAL: 1

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
NONE


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Dec 18, 2024                                            Signature:           /s/Gustava Winters




                                  CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on December 16, 2024 at the address(es) listed
below:
Name                               Email Address
Bradley S Shraiberg
                                   on behalf of Creditor Scott Absher bss@slp.law dwoodall@slp.law;dwoodall@ecf.courtdrive.com;pmouton@slp.law

Bradley S Shraiberg
                                   on behalf of Creditor Manny Rivera bss@slp.law dwoodall@slp.law;dwoodall@ecf.courtdrive.com;pmouton@slp.law

Bradley S Shraiberg
                                   on behalf of Creditor Mark Absher bss@slp.law dwoodall@slp.law;dwoodall@ecf.courtdrive.com;pmouton@slp.law

Charles J McHale
                                   on behalf of Creditor Balanced Management LLC cmchale@mgl.law

Dan L Gold
                                   on behalf of U.S. Trustee Office of the US Trustee Dan.L.Gold@usdoj.gov

Daniel Gielchinsky
                                   on behalf of Debtor ShiftPixy Inc. dan@dgimlaw.com,
                             Case 24-21209-LMI                Doc 145          Filed 12/18/24            Page 2 of 3
District/off: 113C-1                                           User: admin                                                          Page 2 of 2
Date Rcvd: Dec 16, 2024                                        Form ID: CGFCRD3C                                                   Total Noticed: 1
                              colleen@dgimlaw.com;dan_1836@ecf.courtdrive.com;eservice@dgimlaw.com

Erin M Hoskins
                              on behalf of Creditor Robert Angueira ehoskins@bergersingerman.com efile@bergersingerman.com;efile@ecf.courtdrive.com

Eyal Berger, Esq.
                              on behalf of Creditor Sunz Insurance Solutions LLC eyal.berger@akerman.com, jeanette.martinezgoldberg@akerman.com

Isaac M Marcushamer, Esq.
                              on behalf of Debtor ReThink Human Capital Management Inc isaac@dgimlaw.com,
                              colleen@ecf.courtdrive.com;colleen@dgimlaw.com;isaac_876@ecf.courtdrive.com;eservice@dgimlaw.com

Isaac M Marcushamer, Esq.
                              on behalf of Interested Party ShiftPixy Staffing Inc isaac@dgimlaw.com,
                              colleen@ecf.courtdrive.com;colleen@dgimlaw.com;isaac_876@ecf.courtdrive.com;eservice@dgimlaw.com

Isaac M Marcushamer, Esq.
                              on behalf of Debtor ShiftPixy Inc. isaac@dgimlaw.com,
                              colleen@ecf.courtdrive.com;colleen@dgimlaw.com;isaac_876@ecf.courtdrive.com;eservice@dgimlaw.com

Isaac M Marcushamer, Esq.
                              on behalf of Interested Party ReThink Human Capital Management Inc isaac@dgimlaw.com,
                              colleen@ecf.courtdrive.com;colleen@dgimlaw.com;isaac_876@ecf.courtdrive.com;eservice@dgimlaw.com

Isaac M Marcushamer, Esq.
                              on behalf of Debtor ShiftPixy Staffing Inc isaac@dgimlaw.com,
                              colleen@ecf.courtdrive.com;colleen@dgimlaw.com;isaac_876@ecf.courtdrive.com;eservice@dgimlaw.com

Jonathan S. Feldman
                              on behalf of Other Professional Jonathan Feldman feldman@katiephang.com service@katiephang.com

Leyza Barbara Florin
                              on behalf of Creditor Los Angeles West Taco Inc. lflorin@sequorlaw.com, jdiaz@sequorlaw.com

Leyza Barbara Florin
                              on behalf of Creditor Century Tacos Inc. lflorin@sequorlaw.com, jdiaz@sequorlaw.com

Leyza Barbara Florin
                              on behalf of Creditor Tacos 2000 Inc. lflorin@sequorlaw.com, jdiaz@sequorlaw.com

Leyza Barbara Florin
                              on behalf of Creditor Pacific Coast Taco Inc. lflorin@sequorlaw.com, jdiaz@sequorlaw.com

Leyza Barbara Florin
                              on behalf of Creditor Golden Taco Inc. lflorin@sequorlaw.com, jdiaz@sequorlaw.com

Michael S Provenzale
                              on behalf of Creditor Foundry ASVRF Sawgrass LLC michael.provenzale@lowndes-law.com,
                              anne.fisher@lowndes-law.com;litcontrol@lowndes-law.com

Office of the US Trustee
                              USTPRegion21.MM.ECF@usdoj.gov

Paul Steven Singerman, Esq
                              on behalf of Creditor Robert Angueira singerman@bergersingerman.com efile@bergersingerman.com;efile@ecf.courtdrive.com

Raychelle A Tasher
                              on behalf of Creditor United States of America Internal Revenue Service Raychelle.Tasher@usdoj.gov
                              bridgett.moore@usdoj.gov;Shannon.Patterson@usdoj.gov

Samuel Clemens
                              on behalf of Creditor Amanda Murphy sam@gilleonlawfirm.com

Samuel J Capuano
                              on behalf of Creditor Robert Angueira scapuano@bergersingerman.com
                              FSellers@bergersingerman.com;efile@bergersingerman.com;efile@ecf.courtdrive.com

Samuel W Hess
                              on behalf of Creditor Manny Rivera shess@slp.law dwoodall@slp.law;pmouton@slp.law;shess@ecf.courtdrive.com

Samuel W Hess
                              on behalf of Creditor Mark Absher shess@slp.law dwoodall@slp.law;pmouton@slp.law;shess@ecf.courtdrive.com

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                              on behalf of Creditor Scott Absher shess@slp.law dwoodall@slp.law;pmouton@slp.law;shess@ecf.courtdrive.com


TOTAL: 28
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Form CGFCRD3C (01/14/23)

                               United States Bankruptcy Court
                                     Southern District of Florida
                                      www.flsb.uscourts.gov
                                                                                  Case Number: 24−21209−LMI
                                                                                  Chapter: 11

In re:
 ShiftPixy, Inc.
 4101 NW 25 Street
 Miami, FL 33142
 EIN: 47−4211438


                                        NOTICE OF HEARING
PLEASE TAKE NOTICE that a hearing will be held before the Honorable Laurel M Isicoff to consider the
following:

Application for Compensation for Jonathan S. Feldman, Other Professional, Period: 10/28/2024 to
12/15/2024, Fee: $30000, Expenses: $0 Filed by Attorney Jonathan S. Feldman (Feldman, Jonathan)
(134)

1. This matter has been set on the Court's motion calendar for a non−evidentiary hearing. The allotted
   time for this matter is ten minutes. The hearing will be held:

     Date:           December 16, 2024
     Time:           09:30 AM
     Location:       C. Clyde Atkins U.S. Courthouse, 301 N Miami Avenue, Courtroom 8, Miami, FL
                     33128

2. The movant, or movant's counsel if represented by an attorney, must:

             (a) serve a copy of this notice of hearing and, unless previously served, the above−described
                 document(s) on all required parties within the time frame required by the Federal Rules of
                 Bankruptcy Procedure, the local rules of this Court, and orders of the Court, and

             (b) file a certificate of service as required under Local Rules 2002−1(F) and 9073−1(B).

     Any party who fails to properly serve any pleading or other paper may be denied the opportunity to be
     heard thereon.

3. PLEASE NOTE: No person may record the proceedings from any location by any means. The audio
   recording maintained by the Court will be the sole basis for creation of a transcript that constitutes the
   official record of the hearing.

4. PLEASE NOTE: Photo identification is required to gain entrance to all federal courthouse facilities.
   Electronic devices, including but not limited to cameras, cellular phones (including those with
   cameras), iPads, tablets, pagers, personal data assistants (PDA), laptop computers, radios,
   tape−recorders, etc., are not permitted in the courtroom, chambers or other environs of this Court.
   These restrictions (except for cameras not integrated into a cell phone device) do not apply to
   attorneys with a valid Florida Bar identification card, attorneys who have been authorized to appear by
   pro hac vice order and witnesses subpoenaed to appear in a specific case. No one is permitted to
   bring a camera or other prohibited electronic device into a federal courthouse facility except with a
   written order signed by a judge and verified by the United States Marshals Service. See Local Rule
   5072−2.

Dated: 12/16/24                                        CLERK OF COURT
                                                       By: Noemi Sanabria
                                                       Courtroom Deputy
